                     IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF NEW MEXICO


STATE OF NEW MEXICO
COUNTY OF SANTA FE
FIRST JUDICIAL DISTRICT COURT

ADVANTAGEOUS COMMUNITY SERVICES, LLC,
ARMINDER KAUR,
HARASPAL SINGH, and HARCHI SINGH,

       Plaintiffs,
v.                                                       Cause No. D-101-CV-2017-00974

GARY KING, AMY LANDAU,
ELIZABETH STALEY, MARC WORKMAN,
CATHY STEVENSON, ORLANDO SANCHEZ,
and WALTER RODAS,

       Defendants.

                                 NOTICE OF REMOVAL

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendants hereby remove to this State court action described
below.

       1. On April 7, 2017, an action was commenced in the First Judicial District Court of
Santa Fe County, New Mexico, entitled ADVANTAGEOUS COMMUNITY SERVICES, LLC,
ARMINDER KAUR, HARASPAL SINGH, and HARCHI SINGH, Plaintiffs, v. GARY KING,
AMY LANDAU, ELIZABETH STALEY, MARC WORKMAN, CATHY STEVENSON,
ORLANDO SANCHEZ, and WALTER RODAS, Defendants. Civil Action No. D-101-CV-
2017-00974; for violations of the Civil Rights of Plaintiffs under 42 U.S.C. §1983 et. seq..

        2. The case was removed by Defendant State of New Mexico as Agent for and
representative of the N.M. Attorney General and the state employees named in the Complaint by
Notice of Removal filed on May 5, 2017. At the time of removal only the State Agency (NM
Department of Finance and Administration, Risk Management Division as the NM), required to
be noticed pursuant to the provisions of the New Mexico Tort Claims Act (NMSA §41-4-1 to 41-
4-29, (1978)) has received notice of the suit. Numerous individual employees of the New
Mexico Attorney General were not served.
        3. Defense Counsel has contacted those employees who are still state employees and
they stated affirmatively that they have not been served and, further they do not object to
removal of the action to the Federal District Court based on federal question jurisdiction. The
Defendant State of New Mexico affirmatively files its Notice of Removal.

        4. The basis for this removal is that the Plaintiff is demanding relief all counts of the
Complaint, being Counts I, II, and III, for malicious prosecution and malicious abuse of process,
fabrication of evidence, and arbitrary and capricious conduct, respectively, and all under 42
U.S.C. §1983, the U.S. Civil Rights Act.

       5.     Accordingly, this Court has original jurisdiction over the state court action under
28 U.S.C. §1331 – Federal Question jurisdiction.

        6.      All the Defendants who have been served with summons and petition have joined
in this Notice of Removal, being that they are present or former state employees and are
represented by Defense Counsel of the State of New Mexico, Daniel R. Dolan II (Dolan &
Associates, PC).

        7.     This Notice of Removal is timely. The New Mexico First Judicial District Court
has not yet taken any discretionary action in the case. Further, this Notice of Removal is filed on
behalf of the New Mexico Attorney General, ex. rel. State of New Mexico, which has accepted
service from the Plaintiffs.

         WHEREFORE, New Mexico Attorney General, ex. rel. State of New Mexico pray that
this action be removed to the United States District Court for the District of New Mexico.

DATED: May 5, 2017

                                              Respectfully submitted,

                                              DOLAN & ASSOCIATES, PC

                                              /s/ Daniel R. Dolan
                                              Daniel R. Dolan, II, Esq.
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                                              Albuquerque, New Mexico 87107
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I hereby certify a true and correct copy of the foregoing Notice was served email communication
to the Plaintiffs, at the address indicated below, on this 5th day of May, 2017.

Dennis E. Jontz, Esq.
Ryan M. Walters, Esq.
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/s/ Daniel R. Dolan
Daniel R. Dolan, II, Esq.




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